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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


              In re                                                           Chapter 11

              STANADYNE LLC, et al., 1                                        Case No. 23-10207 (TMH)

                             Debtors.                                         (Jointly Administered)

                                                                              Re: Docket No. 245

                      NOTICE OF FILING OF EXECUTED STALKING HORSE PURCHASE
                                            AGREEMENT

                            PLEASE TAKE NOTICE that, on April 27, 2023, the above-captioned debtors
             and debtors in possession (the “Debtors”) filed the Debtors’ Motion for Entry of: (A) an Order
             (I) Scheduling a Hearing on the Approval of the Sale of All or Substantially All of the Debtors’
             Assets Free and Clear of All Encumbrances Other than Assumed Liabilities and Permitted
             Encumbrances, and the Assumption and Assignment of Certain Executory Contracts and
             Unexpired Leases, (II) Approving Certain Bidding Procedures and Assumption and Assignment
             Procedures, and the Form and Manner of Notice Thereof, (III) Authorizing the Debtors to Enter
             into the Stalking Horse Purchase Agreement, and (IV) Granting Related Relief; and (B) an Order
             (I) Approving Asset Purchase Agreement, (II) Authorizing the Sale of All or Substantially All of
             the Debtors’ Assets Free and Clear of All Encumbrances Other than Assumed Liabilities and
             Permitted Encumbrances, (III) Authorizing the Assumption and Assignment of Certain Executory
             Contracts and Unexpired Leases, and (IV) Granting Related Relief [D.I. 245] (the “Bidding
             Procedures Motion”). 2

                          PLEASE TAKE FURTHER NOTICE that, as set forth in the Bidding Procedures
             Motion, the Debtors committed to entering into a stalking horse purchase agreement no later than
             May 5, 2023.

                           PLEASE TAKE FURTHER NOTICE that the Debtors entered into a Stalking
             Horse Purchase Agreement (the “Stalking Horse APA”) with S-PPT Acquisition Company, LLC
             (the “Stalking Horse”), an entity formed at the direction of the Prepetition Agent and Prepetition
             Secured Lenders for the purpose of entering into the Stalking Horse APA and consummating the
             transactions contemplated thereby, on May 8, 2023, upon the execution of which the Prepetition
             Agent extended the May 5, 2023 milestone to May 16, 2023, subject to the finalization of
             schedules to the Stalking Horse APA and the Wind-Down Budget (as defined in the Stalking

         1.
                   The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
         identification number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings,
         Inc. (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White
         Street, Jacksonville, North Carolina 28546.
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                  Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
         Bidding Procedures Motion.
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             Horse APA), each in a form acceptable to the Prepetition Agent in its sole and absolute discretion,
             by no later than May 16, 2023.

                          PLEASE TAKE FURTHER NOTICE that a copy of the Stalking Horse APA,
             filed hereby without the finalized schedules and Wind-Down Budget, is attached hereto as
             Exhibit A

                           PLEASE TAKE FURTHER NOTICE that, in accordance with the Bidding
             Procedures Motion and Local Rule 6004-1(b)(iv), the Debtors highlight the following material
             terms of the Stalking Horse APA: 3

                       Provision                                      Summary Description
                                             Sellers: Debtors Stanadyne LLC; Pure Power Technologies, Inc.; and
             Parties                         Stanadyne PPT Holdings, Inc..
                                             Buyer: S-PPT Acquisition Company LLC.

                                             The aggregate consideration (the “Purchase Price”) for the purchase, sale,
                                             assignment and conveyance of Sellers’ right, title and interest in, to and
                                             under the Purchased Assets shall consist of:
                                             •   Assumption of the Assumed Liabilities; plus
                                             •   Cash consideration of $225,000,000 (as more specifically defined in the
                                                 Stalking Horse APA, the “Prepetition Debt Bid Amount”) which such
                                                 amount will be satisfied by way of (A) an offset against the Prepetition
                                                 Secured Obligations held by the Prepetition Secured Lenders pursuant
                                                 to section 363(k) of the Bankruptcy Code, and (B) the assumption of the
                                                 Restructured Indebtedness (if any) by the Purchaser at the Closing (it
             Purchase Price
                                                 being understood and agreed that the portion of the Prepetition Secured
                                                 Obligations in excess of the Prepetition Debt Bid Amount (if any) will
                                                 remain outstanding as a claim against the Sellers that is secured to the
                                                 extent of the Prepetition Agent’s, on behalf of itself and the Prepetition
                                                 Secured Lenders, security interest in the Excluded Assets), plus; and
                                             •   If the Sellers’ Cash and Cash Equivalents immediately prior to the
                                                 Closing are insufficient to fund the amount of “Total Disbursements” in
                                                 the Wind-Down Budget, an amount of Cash and Cash Equivalents equal
                                                 to the amount of such deficiency.
                                                 See Stalking Horse APA § 2.1

                                             All of such Seller’s right, title and interest in, to and under, free and clear of
                                             all Encumbrances (other than Encumbrances included in the Assumed
             Purchased Assets                Liabilities and Permitted Encumbrances), all of the assets, properties, rights
                                             and interests of any nature, tangible or intangible, real or personal, wherever
                                             located, of such Seller related to, associated with or used, or held for use, in
                                             connection with the Business, now existing or hereafter acquired on or prior


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                  This summary is provided for the convenience of the Court and parties in interest. To the extent
         that there is any conflict between this summary and the Stalking Horse APA, the Stalking Horse APA
         shall govern in all respects. Capitalized terms used but not otherwise defined in this summary shall have
         the meanings set forth in the Stalking Horse APA or the Bidding Procedures Motion as applicable.

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                       Provision                                      Summary Description
                                             to the Closing Date, whether or not reflected on the books or financial
                                             statements of such Seller, as the same shall exist on the Closing Date, but in
                                             all cases excluding the Excluded Assets (collectively, and as more
                                             specifically described in the Stalking Horse APA, the “Purchased Assets”)
                                             See Stalking Horse APA § 1.1

                                             Prior to the Execution Date, the Sellers have delivered to Purchaser a list (the
                                             “Original Contract & Cure Schedule”) of each Contract of the Sellers and
                                             the Sellers’ good faith estimate of the amount of Cure Costs applicable to
                                             each such Contract or indicating “$0.00” if no Cure Cost is estimated to be
                                             applicable for such Contract. From the Execution Date through (and
                                             including) the applicable Designation Deadline, promptly upon Purchaser’s
                                             written consent or promptly following any material changes to the
                                             information set forth on the Original Contract & Cure Schedule (including
                                             any new Contracts to which any Seller becomes a party and any change in
                                             the Cure Cost of any Contract), the Sellers shall provide the Purchaser with
                                             a schedule that updates and corrects such information (as such schedule may
                                             be amended, supplemented or otherwise modified from time to time prior to
                                             the applicable Designation Deadline in accordance with the terms of the
                                             Stalking Horse APA, the “Contract & Cure Update Schedule”). Without
                                             limiting the foregoing, if, following the Closing, it is discovered that a
                                             Contract that should have been listed on the Original Contract & Cure
                                             Schedule or any Contract & Cure Update Schedule was not so listed, the
                                             Sellers shall, promptly following the discovery thereof, notify the Purchaser
                                             in writing of any such Contract and the Sellers’ good faith estimate of the
                                             amount of Cure Costs applicable to each such Contract or indicating “$0.00”
             Assumption of Contracts; Cure   if no Cure Cost is estimated to be applicable for such Contract. Any Contract
             Costs                           not designated by the Purchaser in writing as either an Assigned Contract or
                                             a Non-Assigned Contract, and any Permits and other assets designated in
                                             writing by the Purchaser, in each case at least one Business Day prior to the
                                             Closing, shall constitute “Designation Rights Assets.”
                                             See Stalking Horse APA § 1.5(a)


                                             The Stalking Horse APA contemplates that the Purchaser may, in lieu of
                                             paying any Determined Cure Costs (or any portion thereof) with respect to
                                             any Assigned Contract directly to the applicable non-Seller counterparty, pay
                                             such Determined Cure Cost (or portion thereof) to the Sellers who shall
                                             promptly deliver such Determined Cure Cost to the applicable non-Seller
                                             counterparty. In addition, notwithstanding anything herein to the contrary, in
                                             lieu of paying any Determined Cure Costs (or any portion thereof) with
                                             respect to any Assigned Contract pursuant to Section 1.5(c), the Sellers, the
                                             Purchaser and the applicable non-Seller counterparty to such Assigned
                                             Contract may agree to a post-Closing payment schedule pursuant to which
                                             the Purchaser will make agreed upon Cure Cost payments to the applicable
                                             non-Seller counterparty.
                                             See Stalking Horse APA § 1.5(f)

                                             Closing of the Sale will be subject to, among other customary conditions,
                                             (a) no temporary restraining order, preliminary or permanent injunction or
             Other Terms and Conditions      other order issued by any court of competent jurisdiction or other legal
                                             restraint or prohibition preventing the consummation of the transactions, (b)
                                             the Bankruptcy Court shall have entered the Bidding Procedures Order and
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                       Provision                                      Summary Description
                                             the Sale Order, and each such order shall not have been stayed or vacated,
                                             and (c) the representations and warranties of the Purchaser contained in the
                                             Stalking Horse APA shall be true and correct in all respects (without giving
                                             effect to any limitation as to “materiality” set forth therein) as of the Closing
                                             Date as if made on and as of the Closing Date.
                                             See Stalking Horse APA § 9.1 & 9.2.

             Bid Protections                 None.
             Sale to Insider
                                             Not applicable.
             (Local Rule 6004-1(b)(iv)(A))
             Agreements with Management
                                             Not applicable.
             (Local Rule 6004-1(b)(iv)(B))
                                             It is a condition to Purchaser’s obligations that the Prepetition Agent and the
                                             Prepetition Secured Lenders and their respective Related Parties shall have
             Releases                        received full and final releases from the Sellers’ estates by virtue of the Sale
             (Local Rule 6004-1(b)(iv)(C))   Order or otherwise.
                                             See Stalking Horse APA § 9.3(j).
             Private Sale/No
             Competitive Bidding             Not applicable.
             (Local Rule 6004-1(b)(iv)(D))
                                             Closing of the Sale will be subject to, among other customary conditions,
                                             (a) entry of the Sale Order, and such Sale Order not being subject to any stay
                                             or appeal, (b) the Sellers’ and Stalking Horse Bidder’s representations and
                                             warranties in the Stalking Horse APA being true and correct in all respects
                                             except where such breaches would not constitute a material adverse effect or
                                             have been waived, and (c) no breach of the Sellers’ and Stalking Horse
                                             Bidder’s covenants in the Stalking Horse APA in any material respect.
                                             See Stalking Horse APA § 9.1, 9.2 & 9.3.
                                             The Stalking Horse APA also includes the following milestones:
                                             Bidding Procedures Order. The Bidding Procedures Order shall be entered
                                             on or prior to May 18, 2023.
                                             Bid Deadline. Pursuant to the Bidding Procedures Order, any and all
             Closing and Other Deadlines     Qualified Bids (as defined in the Bidding Procedures Order) shall have been
             (Local Rule 6004-1(b)(iv)(E))   submitted on or prior to June 21, 2023. If any Qualified Bid (other than [the
                                             Stalking Horse APA]) is submitted prior to the Bid Deadline, the Sellers shall
                                             have commenced the Auction on or prior to June 28, 2023.
                                             Sale Hearing. No later than July 10, 2023, the Sale Hearing shall have
                                             occurred.
                                             Sale Order. On or prior to July 11, 2023, the Bankruptcy Court shall have
                                             entered the Sale Order.
                                             See Stalking Horse APA § 7.3.


                                             The Stalking Horse APA also requires that the schedules to the Stalking
                                             Horse APA and the Wind-Down Budget be finalized in a form acceptable to
                                             Purchaser in its sole and absolute discretion by no later than May 16, 2023.


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                                             See Stalking Horse APA § 8.18.

             Good Faith Deposit
             (Local Rule                     No Deposit Required (Credit Bid).
             6004-1(b)(iv)(F))

             Interim Arrangements with       The Stalking Horse APA sets forth customary provisions regarding the
             Proposed Buyer                  Debtors’ conduct of their businesses pending the Closing Date.
             (Local Rule 6004-1(b)(iv)(G))   See Stalking Horse APA § 8.1.
             Use of Proceeds
                                             Not applicable.
             (Local Rule 6004-1(b)(iv)(H))
             Tax Exemption
                                             Not applicable.
             (Local Rule 6004-1(b)(iv)(I))
                                             The Stalking Horse APA provides that the Sellers and the Purchaser agree
                                             that each of them shall preserve and keep the records held by them or their
                                             Affiliates relating to the Business, the Purchased Assets and the Assumed
                                             Liabilities until the later of the closing of the Chapter 11 Cases and the
                                             liquidation and winding up of the Sellers’ estates (but in no event later than
                                             three years after the Closing Date except, in the case of Tax matters, until 30
                                             days following the expiration of the period of any applicable statute of
                                             limitations) and shall make such records available to the other party as may
                                             be reasonably required by such other party in connection with, among other
                                             things, any insurance claims by, actions or tax audits against or governmental
             Record Retention                investigations of the Sellers or the Purchaser or any of their respective
             (Local Rule 6004-1(b)(iv)(J))   Affiliates or in order to enable the Sellers or the Purchaser to comply with
                                             their respective obligations under this Agreement or any of the Ancillary
                                             Agreements and each other agreement, document or instrument
                                             contemplated hereby or thereby. In the event the Sellers or the Purchaser
                                             wishes to destroy such records at the end of such preservation period, such
                                             party shall first give 60 days’ prior written notice to the other party and such
                                             other party shall have the right at its option and expense, upon prior written
                                             notice given to such party within such 60 day period, to take possession of
                                             the records within 120 days after the date of such notice, or such shorter
                                             period as the liquidation and winding up of the Sellers’ estates shall permit.
                                             See Stalking Horse APA § 8.8.

             Sale of Avoidance Actions       Avoidance actions are being purchased under the Stalking Horse APA.
             (Local Rule 6004-1(b)(iv)(K))   See Stalking Horse APA § 1.1(j).

                                             The Proposed Sale Order, which will be filed no later than 21 days prior to
             Requested Findings as to        the Sale Hearing, will contain findings of fact and conclusions of law that
             Successor Liability             the Purchaser is a good faith purchaser entitled to the protections of section
             (Local Rule 6004-1(b)(iv)(L))   363(m) of the Bankruptcy Code, is not a successor to the Sellers and will
                                             have no successor liability.

                                             The Stalking Horse APA provides that upon the entry and effectiveness of
                                             the Sale Order, the Sellers will have the power and right to sell, assign,
             Sale Free and Clear of Any
                                             transfer, convey and deliver to the Purchaser good and valid title (or, in the
             Encumbrances
                                             case of leased Purchased Assets, a valid and subsisting leasehold interest in),
             (Local Rule 6004-1(b)(iv)(M))
                                             free and clear of any Encumbrances (except for Permitted Encumbrances),
                                             to all of the Purchased Assets, to the fullest extent permissible by Law.

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                       Provision                                   Summary Description
                                             See Stalking Horse APA § 4.11.

                                             The Purchase Price includes the Credit Bid under Section 363(k) of the
             Credit Bid                      Bankruptcy Code.
             (Local Rule 6004-1(b)(iv)(N))
                                             See Stalking Horse APA § 2.1.
             Relief from Bankruptcy Rule
                                             The Debtors are requesting relief from the 14-day stay imposed by
             6004(h)
                                             Bankruptcy Rules 6004(h) and 6006(d).
             (Local Rule 6004-1(b)(iv)(O))



                           PLEASE TAKE FURTHER NOTICE that copies of the Stalking Horse APA and
             the Bidding Procedures Motion, are available free of charge on the Debtors’ restructuring website,
             https://www.kccllc.net/stanadyne.

                        PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER
             APPROVAL OF THE BIDDING PROCEDURES MOTION IS SCHEDULED FOR MAY 18,
             2023 AT 11:30 A.M. (ET) BEFORE THE HONORABLE THOMAS M. HORAN, IN THE
             UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, FIFTH
             FLOOR, COURTROOM NO. 4, 824 N. MARKET STREET, WILMINGTON, DELAWARE
             19801.

                                                [Signature Page Follows]




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         Dated: May 9, 2023                YOUNG CONAWAY STARGATT &
                Wilmington, Delaware       TAYLOR, LLP

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